Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 1 of 55 PagelD #:1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

In the Matter of
DAREN L, WAGNER and WAGNER CHARTER CO.,

 

 
 
 

vand ware |

   

Eastern Division

Case PAb

   

 

 

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CONKLIN, MURPHY, CONKLIN, & SNYDER

NAME NAME
MICHAEL A. SNYDER TIMOTHY, . MCGOVERN
FIRM FIRM

CONKLIN, MURPHY, CONKLIN & SNYDER

 

STREET ADDRESS

23 W. JACKSON BLVD., STE. 1150

53 W. JACKSON BLVD. STE. 1150

 

CHICAGO, IL 60604

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HICAGO, IL 60604

 

(312) 341-9500

TELCPHONE NUMBER

(312) 341-9500

 

IDENTIFICATION NUMBER (SEE ITEM 4 ON REVERSE}

2664542

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6275492

 

MEMBER (OF TRIAL. RAR?

YES No [7

MEMBER OF TRIAL BAR? YES

  

 

 

  

 

 

 

 

 

 

 

 

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DEFENDANTS
MiV JAMAICA, 4. PAUL ENOTT, IR, and WAGNER CRUISES, LTD,

 

DAREN L. WAGNER and WAGNER CITARTER Cd, INC.

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(b) County of Residence of First Listed Plaintiff {COOK ReaCounty of Residence of First Listed Defendant

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MICHAEL A. SNYDER, TIMOTHY &. MCOOVERN
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STR. 1150, CHICAGO, TL 60604, (312) 341-9500

 

 

 

 

 

 

 

 

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Defendant (Indicate Citizenship of Partica of Business In Another State

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ARREST OF A VESSEL ANT FORECLOSURE OF A PREFERRED SHIP MORTGAGE PURSUANT TO 46 UL8.C. 31325 AND) RULES B,C AND E OF THE
SUPPLEMENTAL RULLS FOR CERTAIN ADMIRALTY AND MARITIME CLAIMS, FEDERAL RULES GF CIVIT. PROCEDURE.

 

VIL REQUESTED IN
COMPLAINT

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 3 of 55 PagelD #:3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

DAREN L. WAGNER, an individual,
and WAGNER CHARTER CO,, INC,,
an Illinois corporation,

Plaintiffs,

JUDGE SHADUR

Vv.

M/V JAMAICA, her engines, boilers, etc.,
in rem, A. PAUL KNOTT, JR., an

individual, in personam, and WAGNER eve pen MAGISTRATE JUDGE KEYS

CRUISES, LTD., an Illinois corporation,
J ‘ ,
Defendants. br 2 2 20m

VERIFIED COMPLAINT

SR i le al

NOW COME the plaintiffs, DAREN L. WAGNER and WAGNER CHARTER
CO., INC. “Wagner Charter”), by their attorneys, Michael A. Snyder and Timothy
S. McGovern, and for their complaint against the M/V JAMAICA, in rem
(hereinafter "vessel"), A. PAUL KNOTT, JR., in personam, and WAGNER
CRUISES, LTD. (“Wagner Cruises”), state as follows:

1. This is an admiralty and maritime claim for the foreclosure of a
preferred ship mortgage relating to the conveyance of the vessel, This action also
involves the breach of certain agreements entered into between the parties relating
to the sale and operation of the vessel, as well as the business of the vessel.
Jurisdiction is predicated upon Title 46 U.S.C §31325(c). This statute provides:

“The district courts have original jurisdiction of a civil action

brought under subscction (b)(1) or (2) of this section. However,
for a documented vessel...this jurisdiction is exclusive of the

\~|
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 4 of 55 PagelD #:4

courts of the States for 4 civil action brought under subsection
(b)(1) of this section.”

in personam jurisdiction is also appropriate pursuant to 46 U.S.C. §31325(b),

which states:

“On default of any term of the preferred mortgage, the
mortgagee may -

(1) enforce the preferred mortgage lien in a civil action in rem
for a documented vessel, a vessel to be documented under
chapter 121 of this title, a vessel titled in a State, or a foreign
vessel;

(2) enforce a claim for the outstanding indebtedness secured by
the mortgaged vessel in -

(A) a civil action in personam in admiralty against the
mortgagor, maker, comaker, or guarantor for the amount
of the outstanding indebtedness or any deficiency in full
payment of that indebtedness.”

2. Jurisdiction is also predicated upon 28 U.S.C. §12833. The plaintiffs
invoke Rule 9(h) of the Federal Rules of Civil Procedure and Rules B, C and E of the
Supplemental Rules for Certain Admiralty and Maritime Claims.

3. Supplemental jurisdiction is appropriate pursuant to 28 U.S.C. §1367.
All claims are derived from a common nucleus of operative fact, and would
ordinarily be expected to be iried in the same judicial proceeding if considered
without regard to their federal or state character.

4, Venue will be established once the vessel is seized within this district
and the owner is served. Additionally, the vessel and Wagner Cruises transact

business in the Northern District of Illinois. Upon information and belief, all

parties reside in the Northern District of Ilinois.
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COUNTI
(Arrest of vessel and foreclosure of preferred ship mortgage)

5. The plaintiff, Daren L. Wagner, is an individual residing in the State
of Hhnois.

6. The plaintiff, Wagner Charter, is an Illinois corporation, with its
principal place of business in the State of Illinois. Daren L. Wagner serves as
president of Wagner Charter.

7. At all material times, the vessel was documented in the United States
with the following particulars:

(a) Official number 507102;
(b) Length — 93.1 feet;
(c) Gross tonnage - 95; and,
(d) Home port — Chicago, Illinois.
The vessel is, or will be, within this district while this action 1s pending.

8. On July 5, 2001, Wagner Charter, Wagner Cruises, and A, Paul Knott,
dr., entered into a purchase agreement for the purchase and sale of certain assets,
including the vessel (“Purchase Agreement”). A truc and accurate copy of the
Purchase Agreement is attached hereto as Exhibit A and made a part hereof.
Pursuant to the terms and conditions of the Purchase Agreement, Wagner Cruises
and A. Paul Knott, Jr. agreed to pay Wagner Charter total consideration of
$450,000.00.

9. On July 5, 2001, A. Paul Knott, Jr., Wagner Cruises, and Daren L.

Wapner entered into a consulting agreement, whereby Wagner Cruises and A. Paul

Knott, Jr. engaged the services of Daren L. Wagner on the terms and conditions
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 6 of 55 PagelD #:6

provided therein (“Consulting Agreement”). A truce and accurate copy of the
Consulting Agreement is attached hereto as Exhibit B and made a part hereof.
Pursuant to the terms of the Consulting Agreement, A. Paul Knott, Jr. and Wagner
Cruises agreed to pay Daren L. Wagner $350,000.00.

10. On July 5, 2001, A. Paul Knott, Jr.. Wagner Cruises, and Daren L.
Wagner entered into a non-compete agrecment, whereby Daren L. Wagner agreed
to certain restrictions on her future business activities on the terms and conditions
provided therein (“Non-Compete Agreement”). A true and accurate copy of the Non-
Compete Agreement is attached hereto as Exhibit C and made a part hereof.
Pursuant to the terms of the Non-Compete Agreement, A. Paul Knott, Jr. and
Wagener Cruises agreed to pay Daren L. Wagner $350,000.00.

11. On August 28, 2001, Wagner Cruises, as debtor, granted a security
interest in favor of Wagner Charter in connection with the Purchase Agreement,
evidenced by a security agreement (“PA Security Agreement”). A true and accurate
copy of the PA Security Agreement is attached hereto as Exhibit D and made a part
hereof. Collateral for the PA Security Agreement includes, but is not limited to,
“lajll vessels owned or hereafter acquired by Debtor, including all masts, boilers,
ete.”

12. On August 28, 2001, Wagner Cruises, as debtor, granted a security
interest in favor of Daren Wagner in connection with the Consulting Agrcement and
Non-Compete Agreement, evidenced by a security agreement (“C/NC Security

Agreement”). A true and accurate copy of the C/NC Security Agreement 1s attached
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 7 of 55 PagelD #:7

hereto as Exhibit E and made a part hereof. Collateral for the C/NC Security
Agreement includes, but is not hmited to, “[a]ll vessels owned or hereafter acquired
by Debtor, including all masts, boilers, etc.”

13. On August 28, 2001, defendant Wagner Cruises granted a preferred
ship mortgage in favor of plaintiffs, Wagner Charter and Daren L. Wagner, in the
amount of $1,150,000.00, a copy of which is attached hereto as Exhibit F and made
a part hereof (“Preferred Ship Mortgage”). The Preferred Ship Mortgage was
registered with the National Vessel Documentation Center of the United States on
September 5, 2001, as indicated on page 1 of Exhibit F.

14, The Preferred Ship Mortgage secured the “payment and performance
of all other indebtedness, obligations and liabilities...howsocver created, arising or
evidenced, and whether now existing or hereafter arising....”

15. The vessel is now tmdebted to the plaintiffs in the umount of
$837,493.67 plus interest, the costs of this action, including attorneys’ fees, and will
become indebted to the plaintiffs for all of the vessel’s expenses incurred in custodia
legis.

16. The value of the vessel is approximately $650,000.00.

WHEREFORE, plaintiffs pray that an Order issue as follows:

(a) That a warrant for the arrest of the vessel be issued
forthwith;

(b) That the vessel be seized when found within this district
in accordance with the provisions of Rules C and E of the
Supplemental Rules for Certain Admiralty and Maritime
Claims, F.R.Civ.P;
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 8 of 55 PagelD #:8

(c) That the vessel not be released until a bond in the amount
of $850,000.00 is posted with the Clerk of the United
States District Court for the Northern District of Illinois
to secure payment of the vessel’s and the Marshal’s
custodial fees and insurance, and the plaintiffs attorney’s
fees;

(d)} That the Preferred Ship Mortgagc be foreclosed; and

(e) That judgment be entered against the vessel in the
amount of such debt, attorney's fees, Marshal's fees, and
court costs as shall be proved at the trial hereof.

COUNT UD
(Breach of the Purchase Agreement)

17. The plaintiffs repeat and reallege the allegations of paragraphs 1
through 16 of their complaint as paragraphs 1 through 16 of Count II.

18 At all material times, the defendants, Wagner Cruises and A. Paul
Knott, Jr., were bound by the terms and conditions of the Purchase Agreement for
the purchase of “certain assets related to the motor vessels and operation of said
motor vessels”.

19. Pursuant to paragraph 4 of the Purchase Agreement, Wagner Cruises
and A. Paul Knott, Jr. were to pay plaintiff, Wagner Charter, “$25,000 per year in 5
payments of $5,000 each, due on the first of June, July, August, September and
October,” beginning in the year 2002.

20. In an “Addendum to Sales Contract between Wagner Charter
Company, Inc. (“Seller”) Wagner Cruises Ltd. and A. Paul Knott (collectively the
“Buyer’)” dated August 27, 2001 (“Addendum”), a copy of which is appended to the

Purchase Agreement, Wagner Cruiscs and A. Paul Knott, Jr. agreed to “pay off the
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 9 of 55 PagelD #:9

balance of the purchase price of $450,000, minus agreed to offscts, by March 1",
2002.”

21. For purposes of the Purchase Agreement, Wagner Cruiscs and A. Paul
Knott, Jr. were the “Buyers,” as that terms is defined therein, and Wagner Charter
was the “Seller,” as that term is defined therein. Pursuant to paragraph 11 of the
Purchase Agreement:

“Each of the following acts, occurrences and omissions shall
constitute a ‘default’ under this Agreement:

a. Failure of Buyer to make any payment required under the
Agreement when due and such payment remains unpaid for ten
(30) |sic} days; or

b. Either party materially defaults in the performance or
observance of any term, covenant, condition or agreement on its’
[sic] part to be performed or observed under this Agreement or
any other agreement, document or instrument relating to or
contemplated by this Agreement.

Upon default, Scller may accelerate all payments duc and owing
under this agrecment...Buyecr agrees to pay all reasonable costs
and expenses of collection including reasonable attorney's fees.”

22. To date, plaintiffs have only received compensation in the amount of
$290,506.33, accounting for certain payments and offsets. The outstanding balance
due and owing to plaintiffs from defendants pursuant to the Purchase Agreement,
and the Addendum thercto, is $159,493.67, plus interest, costs and attorneys’ fees.

WHEREFORE, plaintiffs pray that, pursuant to the Purchase Agreement,
judgment be entered in their favor and against the defendants, Wagner Cruises and

A. Paul Knott, Jr., jointly and severally, in the amount of $159,493.67, plus interest,

costs, and attorneys’ fees.
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 10 of 55 PagelD #:10

COUNT III
(Breach of the Consulting Agreement)

23. The plaintiffs repeat and reallege the allegations of paragraphs 1
through 22 of their complaint as paragraphs 1 through 22 of Count ITI.
24, At all material times, the defendants, Wagner Cruises and A. Paul
Knott, Jr. were bound by the terms and conditions of the Consulting Agreement
with Daren L. Wagner.
25, Pursuant to parapraph 5 of the Consulting Agreement, defendants
Wagner Cruises and A, Paul Knott, Jr. agreed to pay Daren L. Wagner a total of
$350,000.00, financed over ten years. Payments of $11,000 per month were to be
made on the first of the month between August and November of 2001, and then
continuing “payments of $11,000.00, principal and interest will be paid on the first
of each month June through October for the years 2002 through 2010.” A final
payment of $11,000 is to be paid on June 1, 2011.
26. Pursuant to paragraph 6 of the Consulting Agreement, Daren L.
Wagner could only be terminated as a consultant for legally proven cause. “Cause,”
as defined in the Consulting Agrecment:
“.. shall only include the following:
a. Theft by Wagner of Cruises funds or preperty; or
b. Entering into a similar Consulting Agreement with a
competitive charter boat company operating vessels im Cook
County, Illinois.”

Daren L. Wagner has not stolen funds or property of Wagner Cruises, nor has she

entered into a similar consulting agreement with a competitive charter boat.

company operating vessels in Cook County, Llinovis.
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 11 of 55 PagelD #:11

27. For purposes of the Consulting Agreement, Wagner Cruises is referred
to as “Cruises,” A. Paul Knott, Jr. is referred to as “Knott,” and Daren L. Wagner 16
referred to as “Wagner.” Pursuant to paragraph 10 of the Consulting Agreement:

“Default

If Cruises and/or Knott default on the payment of any sums duc
and owing pursuant to Paragraph 5 of this Agreement, and such
default remains uncured after five business days, Wagner may
accelerate all payments due and owing under this
Agreement...Cruises und Knott waive any and all defenses ta
any lawsuit filed as a result of the breach of this Agreement by
Cruises and Knott. Cruises and Knott agree to pay all
reasonable costs and expenses of collection mcluding reasonable
attorney's fees.”

28. Pursuant to the Consulting Agreement, plaintiff, Daren L. Wagner,
has received only one payment of $11,000.

29. The outstanding balance due and owing to Daren L. Wagner from
defendants pursuant to the Consulting Agreement is $339,000.00 plus interest,
costs and attorneys’ fees.

WHEREFORE, plaintiff, Daren L. Wagner, prays that, pursuant to the
Consulting Agreement, judgment be entered im her favor and against the
defendants, Wagner Cruises and A. Paul Knott, Jr., jomtly and severally, in the

amount of $339,000, plus interest, costs, and attorneys feces.

COUNT IV
(Breach of the Non-Compete Agreement)

30. The plaintiffs repeat and reallege the allegations of paragraphs 1

through 29 of their complaint as paragraphs 1 through 29 of Count IV.
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31. At all material times, Daren L. Wagner, and the defendants, Wagner
Cruises and A. Paul Knott, Jr., were bound by the terms and conditions of the Non-
Compete Agreement.

32. Pursuant to paragraph 4 of the Non-Compete Agreement, defendants
Wagner Cruises and A. Paul Knott, Jr. agreed to pay Daren L. Wagner a total of
$350,000.00, financed over ten years. Payments of $11,000 per month were to be
made on the first of the month between August and November of 2001, and then
continuing “payments of $11,000.00, principal and interest will be paid on the first
of each month June through October for the years 2002 through 2010.” A final
payment of $9,960.00 is to be paid on June 1, 2011.

33. For purposes of the Non-Compete Agreement, Wagner Cruises 1s
referred to as “Cruises,” A. Paul Knott, Jr. 1s referred to as “Knott,” and Daren L.
Waener is referred to as “Wagner.” Pursuant to paragraph 10 of the Consulting
Agreement:

“Default

If Cruises and/or Knott default on the payment of any sums due
and owing pursuant to Paragraph 4 of this Agreement, and such
default remains uncured after five business days, Wagner may
accelerate all payments due and owimg under this
Agreement,..Cruises and Knott waive any and all defenses to
any lawsuit filed as a result of the breach of this Agreement by
Cruises and Knott. Cruises and Knott agree to pay all
reasonable costs and expenses of collection including reasonable
attorney's fees.” |

34. Pursuant to the Non-Compcte Agreement, plamtiff, Daren L. Wagner,

has received only one payment of $11,000.

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 13 of 55 PagelD #:13

35. The outstanding balance due and owing to Daren L. Wagner from
defendants pursuant to the Non-Compete Agreement is $339,000.00, plus interest,
costs and attorneys’ fces.

WHEREFORE, plaintiff, Daren L. Wagner, prays that, pursuant to the Non-
Compete Agreement, judgment be entered in her favor and against the defendants,
Wagner Cruises and A. Paul Knott, Jr., jointly and severally, in the amount of
$339,000, plus interest, costs, and attorneys’ fees.

Respectfully submitted,

DAREN LL. WAGNER and WAGNER
CHARTER Co., INC., plaintiffs,

Theg ‘attorney

Michael A. Snyder

Timothy 8. McGovern

CONKLIN, MURPHY, CONKLIN & SNYDER
53 West Jackson Boulevard

Suite 1150

Chicago, Illinois 60604

Tel.: (812) 341-9500

Fax: (312) 341-9151

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 14 of 55 PagelD #:14

STATE OF ILLINOIS — )
) ss.
COUNTY OF COOK }

AFFIDAVIT
I, Daren L. Wagner, individually and as President of Wagner Charter Co.,
Inc., have read the foregoing complaint. I have personal knowledge of the facts

stated therein, and hereby depose and swear, under penaltics of perjury, that they
are true and correct to the best of my knowledge and belicf.

Daren L. foe

Subscribed and sworn to before
me this _/ g day of July, 2002.

Z Mtize

Notary Public

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{ OFFICIAL SEAL

§ BUZETTE A. NOWAK

{ Pubito, State of Minot
Wy Commission Expires 7-13-2004

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PLAINTIFF'S
EXHIBIT

     

PURCHASE AGREEMENT

THIS PURCHASE AGREEMENT (“Agreement”) is made as of the J day of July. 2001.
by and between WAGNER CHARTER CO.. INC.. (“Seller”) and WAGNER CRUISES. LTD. and

A. PAUL KNOTT (collectively the “Buyer”).

REC ITALS
A. The Seller is the owner of two motor vessels and associated equipment.
B. The Seller wishes to sell and the Buyer wishes to purchase cerain assets related to the
motor vessels and operation of said motor vessels pursuant to the terms of this Agreement.
C. Closing will occur on July 10, 2001 or such other date mutually agreed to by the
parties.
AGREEMENT

NOW, THEREFORE. in consideration of the premises and for the good and valuable
consideration, receipt of which ts hereby acknowledged. the Seller and the Buyer herebv agree as

follows:

l. Subject 0 the ferms and conditions of this Agreement. the Seller agrees to sellandthe -
Buver agrees to buy trom the Seller the motor vesse! /a@natca. the motor vessel Buccaneer. the
equipment listed in Schedule | (*Equipment”). existing contracts listed in Schedule 2 (“Contracts”)
and miscellaneous assets described on Scheduie 3 which Schedules are attached hereto and made a
part of this Agreement. The above listed assets and Schbdule are sometimes referred to in this

Agreement collectively as the “Purchased Assets”.

a In consideration for the sale of the Purchased Assets by the Seller to the Buver. the
Buver shall pav to the Sedler the sum of $450.000.00. ina combination of immediare cash pavoit of
Seiler loans. Seller debt co Buyer. repair offsets. debt assumption and cash payments set forth as
follows. Under no circumstances will the total pavorf of loans. Seller debt to Buver. repair otfsets or

‘accounts payable assumed by Buyer total more than the purchase price of $450,000.00. Any
remaining monies due trom the purchase price will be financed by the Seller as described in 4.

a. At closing Buyer will pay in cash an amount sufficient t to retire che loans listed

below, The approximate, amount of each loan is a follows:

1) North Community Bank loan number 48401 - $50.090.95:
| 2) North Community Bank loan number 17565 - $5.312.91:
3) Richard Kingma loan - $20.286.00:

4) Richard Kinga loan - 310. 110. 00:

      
 

ee eer

5) Jerry Barr loan - $10. 35d, 15:
7) Jerry Barr loan of $10,233.35; and
8) Jamaica dry dock costs unless paid previously by the Seiler.
The amount of cash due under this subsection at closing may not be reduced by the otfsets listed in .

subsections 2,6 ~ 2.d.
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 16 of 55 PagelD #:16

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b. At closing the Buver may offset the following Seller expenses Buyer has
previously paid for Seller:

1) Dock expenses for Buccaneg
Buyer. prorated to date of closing, as follows: $426

for 330 North Wabash and Sirt00-06 pasementh for for Burnham Ha igglus :
abet | Wed — Nba - oly, Rey ee
: 2) Money due ro Luxury Yachrs. Ltd. tor cruises rransierred from WCcl

vessels to Luxury Yachts. Lid. vessels.

 

c. Repair and licensing costs may be offser bv the Buver trom the purchase price
during 2001 and 2002 as follows: ,

L) Actual incurred by Buyer co bring berh vessels up co: Coast Guard
required minimum standards for annual (2001 only) satety Inspection on each vessel:
2) Actual incurred bv Buver to bring Buccaneer up to Coast Guard,
required minimum standards tor 5-vear drv dock inspection:
3) Actual incurred bv Buver to bung &uccaneer starboard engine up to
normal operating condition considering the cvpe and age of the engine. not to exceed 320.000:
ane
4} Actual incurred by Buver to replace backup generator on Buccaneer.
‘not 10 exceed 9.00
16 ys |

Buver agrees to allow Seller access to the vessels bv a survevor of Seller's choice to examine the
vessels. Buver and Seller also agree to submit any dispule to binding arbitration to determine the costs
incurred by Buver in Paragraph 2.c. The cost of binding ee etcegt will be split between Buyer ie

in the event the Buyer and Seiler cannot agree on the costs incurred by Buver in Paragraph 2.c.. . |
\,

 
  

 

3
Buyer once Ueesells 2S As » uoker:. thes 5 a 4 Cee
o- yt tcp ms of
cd. bai HIS Mpvable e Will be assurned bv the Buver, for io? a [ist or a
provided at closing and. she be added to from time to time, és Jol. oxy =~ Ledera\ \eve
Por iS ylot Yasponsible le for fakes Moasyred
¢ the aeller
2) ‘Buyer agrees to provide Seller with proof ot payment in the form of a
canceled check or signed release of debt in order to offset any cash payments as outlined in 3:
arta
7 3) If either the Buyer or the Seller effects a reduction in debt owed. the
savings in debt belong to the party (Buyer or Seller) chat negotiaied the debt reduction.
4) Seller reserves the right to pay any account payable nonwithstanding the

account payable being on the list if said account payable has not been paid by Buyer.

3, As further consideration. the Buyer agrees to allow the Seller to use the afore
mentioned dock space until the closing, and to rent such space at Buyer's acnual cost to the Seiler
should the closing not occur.
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ror Give & aman “a. Cacan caenar © Tanto Tey a) =e
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4. The balance of purchase price due to Seller will be paid by Buver beginning in year

2002. $25.000.00 per year in 5 payments of $5.000.00 each. due on the first of June. July. August.
September and October until such time as purchase price is paid in full. These payments may be
_ offset by any assumed accounts payable debt previously paid by the Buyer. up to the full payment due
to Seller. Any payment required to be made pursuant to this Agreement not paid within 10 days of the
applicable due date shali be assessed a late charge (“Late Charge”) equal to the lesser of (a) 5% of
such overdue amount or (b) the maximum amount permined by law. Any Late Charge shall be
pavable by Buyer to Seller on demand made by Seller to Buyer. Seer ajio agrees
repay Daren Wagner her loan of 923 G00” by duly 1, WOT «2
Subject co the terms of this paragraph. the Buver may from time to ime. upon at least 10
written notice received by Seller. prepay all sums due under this Agreement in whole or in par:
provided. however, that any partial prepayment shall be: (i) applied to che unpaid installments thereof
in the inverse order of maturicv: and (ii) shail be accompanied by accrued interest to the date of

prepayment on the principal amount being prepaid.

 
  
   

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5. As security for chis Agreement. Buyer grams Seller a security interest in the
Purchased Assets. No Security Interesis or liens. except that of the Seiler. shail be placed or caused
to be placed on the vessel Jamafca until such time as the debt to che Seller is paid in mill. The Seiler
agrees (0 allow shore Bank a superior security position to the Seller's interest up to $200.000.00 on
the vessel Buccaneer. and the Setler agrees to assume 4 secondary securiry position. Al any time. |
upon request of the Seller. the Buyer wiil promptiy. at Buver’s expense. (a) correct any detect. error
or omission which may be discovered in the form or content of any mortgage. security agreement.
UCC.-1| lnancing statement. assignments. certificares. correspondence and other documents delivered
herewith. and (b) make. execute and deliver any and all mbrigages. SECUITILY agreements, financing
statements. assignments. certificates. correspondence and adher documents as may. in the good tanh
opinion of the Seller. be necessary or desirable in order ‘to complete or erfect the granting of a
SECUNILY Interest in the Purshased Assets.

4 Closing on the purchase of the Purchased Assets (the *Closing™) shall take place on
say fp 2001 or sooneg at the offices of the Seller or any other such place the Buyer and Seller may

agree

  

7. On the closing date the Seller shall deliver to the Buyer:
a. A valid Bill of Sale and /or Assignment covering the Purchased Assets: and
b. All assets listed as part of sales contract.
8. " On the closing date the Buver shall deliver to the Seller:
a. The initial payment of the purchase price as outlined in Paragraph 2(a):
b. A boat mortgage for each vessel for the balance of the purchase price:
c. A Security Agreement and UCC-| financing statement covering all of the

purchased assets not covered by the boat mortgages: and
d. A corporate resolution by Wagner Crinses Lid. authorizing the purchase of the

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 18 of 55 PagelD #:18

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assets under the terms set forth in this agreement.

9. Seller represents and warrants. and shall be deemed.to represent and warrant at thie
time of Closing. to the Buyer as follows:

a. The Seller ig a Corporation. dulv organized and ¢ existing, in good standing.
under the laws of the jurisdiction of its incorporation. and has the corporate power to own ils propery

and the purchased asses:
b. The Seller has fui! power and authority to enter into and to perform its

obligations under this agreement. all of which have been duly authorized bv all proper and necessary
corporaté action. No additional approval of shareholders of. or lenders co, the Seller-and no consent.
approval, filing or registration with or notice to any governmental aurhoricy on the part of the Seller is
required as a condition to the validity of this Agreement or the performance bv the Seller of it's

obligation under the Agreement:

c. This Agreement consticutes the valid and legaily binding agreement of the
seller and j is enforceable against the Selier in accordance with it’s terms:
dd. There is'no stare. regulation. mule order or judément. no charter. byiaw or

preference stock provision of the Seller. and no provision of any mortgage. indemure. security
agreement. comract or other agreement binding on the Seller or affecting it’s properties. which wouid
prohibit or cause derault under oc in any way prevent the execution, delivery. or carrving out of the

terms of this Agreement.
a. That Seiler will enforce the non-compete agreement and/or order of non-

complete tn place against Kenneth R. Wagner provided that Buyer pavs all fees and costs of litigation

to enforce said non-compete agreement and/or ordér.
t All representations and warrantees conrained in this agreement shall survive

he execution of this Agreément and Closing,

{G. Buver represents and warrams. and shail be deemed to represent and warrant at the

time of Closing, ta the Buver as follows:

a. The Buyer is a corporation. duly organized and existing. in good standing.
under the laws of the jurisdiction of its incorporation. and has the corporate power fo own is property

and the purchased assets:
b, The Buyer has full power and authority to enter into and to pertorm its

obligations under ths agreement. all of which have been duly authorized by ail proper and necessary
corporate action. No additional approval of shareholders of. or lenders to. the Buyer and no consent.
approval. filing or registration with or notice to any governmental authoriry on the part of the Buyer is
required as a ¢ondition to the validiry of this Agreement or the performance by the Buyer of it’s

obligation under the Agreement:

c. This Agreement constinutes ute valid and legally binding agreement of the
Buyer and is enforceable against the Buyer in accordance with it’s terms:
d. There is no starute. regulation. rule order or judgment. no charter. bylaw or

preference stock provision of the Buyer. and no provision of any mortgage. indenture. security
agreement, contract or other agreement binding on the Buyer or affecting it’s properties. which would
prohibit or cause default under or in any way prevent the execution, delivery. or carrying our of the
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' Front: Qawe 2. [aman “3 Caran vagnae © : Tare fehl, Temp Seb 7 @
terms of this Agreement:
e. All representations and warrantees contained in this agreement shall survive
the execution of this Agreement and Closing:
f Buyer has examined the Purchased Assets and accepts the Purchased Assets
"as is. where is”: | .
@ Buyer. until such time thar the Purchase Price is paid in full. will maintain ail

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services and facilities necessary to the ongoing business and maintenance of the motor vessels
Buccaneer and Jamaica. .

ll, Each of the following acts, occurrences and omissions shalj constitute a “default”
under this Agreement:

a. Failure of Buver to make any payment required under the Agreement when due
and such payment remains unpaid tor ten (40) days:

b. “Elther party materfafly detauits in the performance or observance of any term.
covenant. condition or agreement on is’ part co be performed or observed under this Agreement or
any other agreement. document or instrument relating to or contempiated by this Agreement.

Upon detault. Seller may accelerate ail payments due and owing under this Agreement. Buyer agrees _

to submit to the jurisdiction of the Circuit Court of Cook Country. Ilinors and waives anv and all nght

to a trial bv jury. Buyer waives any and ail detenses to any lawsuit filed as a resuit of the breach of

this Agreement by Buyer. Buyer agrees to pay all reasonable costs and expenses of collecuon
including reasonabie allarney’s fees.
. |

i2. Atany iime. upon request of the Buver. the Seller will promptly. at Seller’s expense.
(aj correct anv dereet. error or omission which may be discovered in the form or content ot any biil
of sale. assignments, certificates. correspondence and other documents delivered herewith. and (b)
make. execute and deliver any and all further bills of sale. assignments. certificates. correspondence
and other documents as may. in the good faith opinion of the Buver. be necessary or desirable in
order to complete or effect the transfer of the Purchased Assets. |

13. Except as otherwise provided herein. anv tee. cost. charge or expense incurred by
either party hereto or for which either party hereto may be liable in comection with the negotiation.
examination and consummation of this Agreement. shall be paid by the party incurring or liable tor
such fee, All bills rendered for services should be on hand as of the date of Closing,

[4. ‘The Buyer and the Seiler each warrant to the other that they did not deal with any
broker or finder in connection with the transaction described in this Agreement.

15. This Agreement and all exhibits referred to herein and attached embody and constitute

the entire understanding between the parties with respect to the transaction contemplated herein. and

all prior or conlemporaneous agreements. understandings. representations and statements, oral or
written. relating to the purchase of the Purchased Assets are merged into this Agreement. Neither
this Agreement nor any provision hereof may be waived, modified. amended. discharged. or

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» From ava & wate fy Caren tare @ ” Qatar 4/30/01 Tienes 34600 @

terminated except by an instrument.in writing. signed by the parties hereto: provided. however. either
party tay waive in writing a requirement of the other.

16. Any notice. request.. demand. instruction or other document to be given or
served hereunder or under any document or instrumem executed pursuant hereto shal] be in wnting
and shall be delivered personaily or sent by United States registered or certified mail. return receipt
requested. postage prepaid or by overnight express courier. postage prepaid and addressed to the
parties at their respective addresses set forth below. and.the same shail be effective upon receipt if
delivered personally or twa business days after deposit in the mails if mailed. A party may change us
address for receipt of notices by service of a notice of such change m accordance herewith.

If to Seller ta:

Daren Wagner

WAGNER CHARTER CO.. INC.
2N076 Linda Avenue

Wheaton. Illineis 60188

With a copy to:

David E. Cohen

David E. Cohen. P.C.
205 West Wacker Drive
Suite 2333
Chicago, Illinois 60606

[f to Buver. to:

A. Paui Knot. Jr.
{S01 North State Parkway
Suite 3A

Chicago, Mlinois 60610-1665 | | q-
WAGNER SiateR@ABR-CRUISES. ny BY
SOT North Stice-Parkw:

SOT NG Parkway S20

Suite SA e607 £ Le Us

Chicago. Iinois 60640-1665 > U the —
2.

With a’ copy tw:

D. Adolphus Rivers
6947 Cregier Avenue
Chicago. I[Iinois 60449

L7. This Agreement has been delivered at Chicago. Illinois, and shail be governed by the
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Jeonr Coad € cater la: Caran wagner @

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laws off the Stare of Illinois. Whenever possible, each provision of this Agreement shail be

interpreted in such manner as to be effective and valid under applicabie law. but if any provision of

this Agreement shail be prohibited by or invalid. under applicable law. such provision shall be
inetfective to the extent of such prohibition or invalidity. without invalidating the remainder of such

provision, or the remaining provisions of this Agreement. or any other agreement between Buyer and.

Seller.

- 18. This Agreement may be signed in counterparts.

19, This Agreement shail be binding upon and shail inure to the benefits of the parties
hereto and to their respective successors and assigns.

WAGNER CHARTER CO., INC.

    

3 President

Claw haul

A, PAUL KNOTT. JR.

Ar

WAGNER BA. LTD.

Leth)

‘tts’ President

Page ds
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 22 of 55 PagelD #:22

Frapp Dawa £,'2anwn fo: Caran wagner @ : Data: i/ 30/01 firme 3:06.00 eS
i Schedule 1
Ll. For the motor vessel Jamaica. all cables. engines, machinery. boats anchors. chains.

apparei. turniqure, fittings. tools, pumps. equipment, radar. sonar. navigational devices, and supplies.
‘all accessories and additions. improvements and replacements whether on board or removed,
2 For the motor vessel Buccaneer. ail cables. engines. machinery, bowsprits. boats

anchors; chains. - apparel. furniture. fitings.-tools. pumps: cquipment. radar. sonar. navigational

devices. and supplies. all accessories and additions. improvements and replacements whether on

_ beard or removed. .
3. Cleaning items including vacuum cleaner. steam cleaner and power washer.

4. Tools including assorted power tools and hand tools.
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, Front Gane &. Cotten Ta: aren Wagner @ Date: 4/30/01 Tere Saad “® Sage 1):

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Schedule Z
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1:00pm Set Away With
Murder
{Buccaneer}

 

 

    

 

 

and Wine, Soda
and Juice for
underage
passengers

Center, ..pass.cht
Beer and Wine
Bar Glamlaca}

 

11:00am Russo...pass.ck 1
Estimabed...Cpen
Pop and Juice
6:00pm Kasch...pass.ct:
125._,Standard

 

 

 

    
   

 

 

 

 

Wine Open
BarfONLy 2
HOURS} and
Cash Bar
(Buccaneer)

 

 

 

9:30am Goldstein...pass.c
30
Estimated...Cash

7:00pm Bonovan,..pass.c
150

7:30pm Get Away With
Murder (Private)

 

1:00pm Schubneister/ Fall
Cop. ..pass.ct.: 68
Estimated...Pop

7:00pm MoGhee...pass.ct
130

7:30pm Pau
Williams, ..pass.ct

 

11:00am Harrington

 

 

(lamaica)
6:00om Darby

(Buccaneer)
#00pm Roper, .Pass.ct

715

Estimated, ..Deluo

 

 

oo 7 VERASS

 

 

"12:00pm Walace/CADDI

 

 

 

 

 

 

; Paralegal/Oison 65 | 6:00pm KuzielfTaylor, Ine...pass.ct: 60
Estimated...Delus 150 _ Estimated...Cash Johnson and 2:30pm Ramze
Open Bar Estimated...Cash bar{ 1 beer and ASSOC...Dass.ctrBl | Dahleh/Hyperfea
2:00pm Shlerry...pass.ct: 8:30pm Dahike...pass.ct! wine Bcket per: Estimated...Beer © 7:30pm Flynn(vi)
100 Estimated...Delun passenger) ~ 8:00pm Mountain {Jamiaca)
Estimated...Beer Open Bar/Pop (Buccaneer ) (Jamaica) 7:30pm GaminotvNn}
". * Katie Heller

 

 

7/9/2001
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 25 of 55 PagelD #:25

 

 

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"| 1:00pm Federal

Reservey Lun, .pa

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ne 30pm Lattancio/ NACH.

Estimated. ..Beer :
and Wine Open i
7:00pm Get Away With
Murder...pass.ct:
7:30pm Prom.Ady...pass..
Estimated, ..Cash

8:00pm Gustafson...UKNC
QGamiaca}

 

Pog eee sa Song oe pe BP ee eats

Jooel  ginariss Nee ofp -

 

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10:30am Brim(PAC)...No-

Contract
(Buccaneer)

6:00pm Smith/MidAmeric
Blevator:
Comp...pass.ct:1'

Estimated...Stam | _

Open Bar, Open
Soda and Juice
fer underage

3: opm bonne PaSS.C
Petirated. Beer: .
; and Wine Open ;
7:00pm Hemandez...pass :
150
Estimated...Pop

50
Estimated...Beer
and Wine Open
Bar Gamiacad

10:00m: Marting...pass.ct:
Unknown. ..Cash
Bar (Buccaneer)
7:00pm Cosentino...p35s.
130
7 00pm Randall Centex
Homes. ..pess.ct:

 

Jo. ie nisi ee 4

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18

 

1:00am Golubchel(SATL
NIGHT-SUNDAY
MORNING)...CO#
Gamiaca}

12: “45pm Gdetnojtieiina
Financlal...pass.c
HIS
Estmated...Stan
Open Bar

5: doom I Henderson. —
E25
Estimated...Tab

6:00pm Rubinstein...pass
ito

 

1

and Wine Open
i

1: Gop Carrall/Emst and
Young, ..pass.ct:
2:00pm Jack Wison/
Equity Res. F
6:30pm Brian
Malone/Chi.
6:00pm Zander, ..pass.ct:

12:00pm Belsher/Travel
Alberta, ..pass.ct:
6:30 orn Grabowski...pass
125
7:00pm Lubavs...pass.ch
#0
7:00prn Sobek,'S.Halland

 

12:00pm far ard Water

19.

web = ee a

mos, De pa

Be 23:
€30pm Steven.

wo 24
7:00pm MoGinnis...NO

29

 

Show... pass ct:
145 Estimated.

12:00pm GrahanySook,
Inc...pass.ct:
6:000m Hall...WO
CONTRACT

 

inl

Estimated. Beer |
and Wine Open
Bar (Buccaneer} :

. 8:00pm Miler.,.pass.ct:

CONTRACT
(Jamiaca}

100
Estimated...Stanc
Open Bar

 

4:00pm Prom.Adv...025S..
150
Estimated...Cash
Bar + 2 drink

8:00pm Nagel...pass.ct:
215

 

wy Ee

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31h

 

 

2:00pm Rose/Ginger's
Ale
House...pass.ct:
75
Estimated, ..NiO
CONTRACT
(Buccaneer }

 

 

 

 

&:00pm Tarka...pass.ct:
100
Estimated...Cash
Bar (Buccaneer)

 

7:00pm inst. of Art
{Lindsey}...pass.c
715
Estinvabed...Open
Soda and Juice
Clamaica}

 

0pm Promotional
Advertising...NO |
CONTRACT ;
(Jamiaca}

 

 

"| + Kaife Heer

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oO .
N | 2:00pm Wilford. ..pass.ct:
t 75
a Estimated. ..Beer
o and Wine Goen
oO 00pm Volpe...Conbtract?
oO {Jamiaca)
ip
5 1:00pm Robert
5 Hubener...pass.c
“I Estimated....Cash
M 7:00pm Jezek/Judson
> Murder Open Bar College...pass.ct:
Oo. (Buccaneer } and Juice Gpen
N es = eee
oO : " st
= 12:30pm Culyer/Ind. 7:00pm Mortenson
a Order of (A.G.L.0}...pass.c
KC Foresters. .pas.cl 125 ,
2 5:30pm Oulver/Ind Estimated...Cash
9 Order of Bar Jamaica}
iL
od
tf of Events... pass.ct
5 100.-cash Bar ve
poe! r . i
; 6:30pm Messing, ..pass.ct
E (amiaca) 151
5
S Estimated... Creiue
QO Serra
co
a 50
8 72:00pm Frederick Estimated. ..Dalio
4 Fisher... MAXINE
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" * (katie Heiler F/R 2001
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 27 of 55 PagelD #:27

 

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Se AQ,

Sone et dal

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2:00pm Yale Club
{Jamiaca)

¥i00pm Get Away With
Murder
Qamiaca}

 

 

Pee Ue ee afd -

ce ag rT)

 

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6:00pm Schuitman
(Jamiaca}

 

wee ES aS

 

eee

2

 

 

 

 

 

 

 

 

 

6:30pm Get Away With
Murder
Gamiaca}

 

7.00pm Friends of the
Chicago River /
Margaret Frisby
Qamiacal

 

 

 

 

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7:60pm Get Away:
Murder
Qamiaca}

 

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: |» Katie Heller

7/9/2001
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Uplaa Aeay 329) Ludoo:z

 

 

 

 

 

 

 

 

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- Froty.Gawa & ponan To: Qaren wagner © Date: 6730701 Tim Sled “~®

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10,

Schedule 3
Web Site tor Jamaica and Buccaneer
Main telephone number of 630-653-8690
Toil free qumber of 800-PARTY Boat
One computer (“Katies”)
One printer
Three Nortel phones.

Two metai desks

Two office chairs.

Copy machine

Fax machine

10
TS PAYABLE - WAGNE

Yenders and Suppliers:

1/12/01
2/01
5/25/01
77?
4/1/01
3/01/01
5/1/01
6/1/01
11/10/00
11/3/00
10/01/00
WAI
9/15/00
5/16/01
4/9/01
2/14/01
1/7/01
5/14/01
12/14/00
12/29/00
5/7/01
3/15/01
6/11/01
6/3/01
12/12/01
1/12/01
5/4/01 |
6/26/01
5/30/01
11/7/00
5/20/01
5/8/01
5/1/01
4/12/01
11/01/01
3/16/01]

VENDER TOTALS:

Airbom Express
Ameritech
Barclay

Cell Mart
Chicago Parent
Chicago Tribune
City of Chicago
Cohen, David
Corky’s Catering
Cosmopolitan Textiles
Crowleys

Dept. of Treasury
Dominics

Drug testing Consult
Dukes Oil

Fed Ex

First Insurance
Grainger

Home Depo
Illinois Trade
Industrial Engine
Key Art

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Office Max
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Pitney Bowes
Romano Brothers
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(Delivery)
Phone & Y.P.
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Cell Phone
Advertising .
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Licence Fees.
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Linen Rental
Boat Yard
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Food

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Hull, etc.
R&M

Repair and maint.

Various

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Office Supplies
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Financial
Bottled water
Help Wanted
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Laborers (4 wks)
Power Washer
Trade account
Legal

$§ 53,869.79

Total due

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1916.00
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700,00
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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 31 of 55 PagelD #:31

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(2000.00 settle if paid by now)

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 32 of 55 PagelD #:32

653-8979 . WAGNER CHARTER CO PAGE a2

 

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 33 of 55 PagelD #:33

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 34 of 55 PagelD #:34

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WAGNER CHARTER CO

 

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* 98/26/2001 22:59 WAGNER CHARTER CO PAGE 62

  
 
 
    
    
   
 
 
 
    
    
    

ADDENDU

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account held by employees, and. liquor; beer, soda. aud dry. goods inventory, the. buyer will U'pa
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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 36 of 55 PagelD #:36

    

 

From: Daviy ©. Caen To; DAREN WAGNER DATE: F200 Time: “~~ PM MMeE a
PLAINTIFF’S
j "B
CONSULTING AGREEMENT
This Consulting Agreement (“Agreement”) is entered into on this day of July,

2001, berween A. Paul Knott, Jr. (“Knot”), Wagner Cruises Lid. (“Cruises”), and Daren
Wagner ("Wagner").

WHEREAS, Wagner currently is employed by Wagner Charter Company:

WHEREAS, Cruises, which owns and operates several charter boats. is in the process
of acquiring additional charter boars:

_ WHEREAS, Wagner has unique skills, knowledge and expertise valuable to the Cruises
and Know’s existing operation and future expansion plans;

WHEREAS, Cruises and Knott desire to hire Wagner to, among other things, to
provide advise on the operation of the financial, operational. sales, marketing and bookkeeping

end of its various charters both for its existing operation an future expansion:

Now THEREFORE. in consideration of the mutual agreements contained herein, the
parties agree as follows:

1. Term:

 

The term of Wagner’s consulting contract will begin July 10, 2001 and end December
31, 2004.

2. Position and Duties

Effective July 10, 2001, Wagner will become a consultant with Cruises and Knott. In
such capacity, Wagner’s principle duties will include:

a. Advising Cruises and Knorr with design, layout and equipment
purchasing for Cruises.

b. Advising Cruises and Knott with efficiencies of the support staif.

c. Advising Cruises and Knott with sales and marketing plans.

d. Advising Cruises and Knott with the operational aspects of charters.

&. To be available at the request of Cruises’ Senior Vice President.

President or Chairman, or Knott to advise regarding future development of the
companies business.

3. Work Location

Wagner may consult from her home, and will be reasonably available via phone and
tax. Wagner will not be required to be on site, either vessel or office, more than 8 hours per

month.
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 37 of 55 PagelD #:37

From: Oavid E. COHEN To: DAREN “6 | Dare: 72001 Time: oe PM Pace & ¢
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4, Reporting Structure

With regards to all of her duties and responsibilities at Cruises and Knowl, Wagner will
report to A, Paul Knott, Jr.

5. Compensation

For the services under this agreement Cruises and Knom agree to pay Wagner
$350,000.00. Wagner has agreed to tinance this amount over ten years. Monthly payments of
$11,000.00, principal and interest will be paid on the first of each month August through
November for the year 7001. Monthly payments of $11,000.00, principal and interest will be
paid on the first of each month June through October for the years 2002 through 2010. A final
payment of $11,000.00 will be made June 1, 2011.

Wagner will be responsible for all taxes.

Wagner will not be entitled to any other compensation such as vacation pay, sick pay,
medical benetits, etc.

6. Termination

 

Cruises and Knot may immediately terminate Wagner’s employment only if
termination is for legally proven “cause”. “Cause” as used herein shall only include the
following:

a. Theft by Wagner of Cruises funds or property: or .
b. Entering into a similar Consulting: Agreement with a competitive charter
boat company operating vessels in Cock County, Illinois.

7. Prohibited Outside Activities

While under the terms of this consulting agreement through December 31, 2004,
Wagner is not permitted to hold consulting agreements with competitive companies as
described in Paragraph 6.b. that represent a conflict of interest.

8. Permiited Outside Activities

While, contracted as a consultant for Cruises:

a. Wagner may act as a sales agent for her own charter brokerage
company;

b. Wagner may hold a sales position for an outside charter company; and

c, Wagner may accept a strictly non upper-management. non-consulting

position with a competitor of Cruises.
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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 38 of 55 PagelD #:38

YQ, Security

As security for the payment of any sums due and owing pursuant to paragraph 5 of this
Agreement, Cruises grants Wagner a security interest on all assets of Wagner Cruises Lid..,
subject only to liens allowed in the sales contract between Wagner Cruises Lid.. A. Paul
Knot, Jr. and Wagner Charter Co.. Inc. Cruises and Knott will execute all documents
necessary to perfect the security agreement in Cruises assets.

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LO. Default

If Cruises and/or Knott default on the payment of any sums due and owing pursuant to
Paragraph 5 of this Agreement, and such detault remains uncured after five business days.
Wagner may accelerate all payments due and owing under this Agreement. Cruises and Knott
asree io submit to the jurisdiction of the Circuit Court of Cook County, Dlinois and waive any
and all right to a trial by jury. Cruises and Know waive any and all defenses to any lawsuit
filed as 4 result of the breach of this Agreement by Cruises and Knott. Cruises and Knott agree
to pay all reasonable costs and expenses of collection including reasonable attorney’s fees.

Ll. Severability

If any particular portion of this Agreement is adjudicated to be unenforceable, that
portion shall be deemed deleted without affecting the validity or enforcement of any other
portion or provision hereof.

12. Notices

All notices including notice of termination by either party may be delivered in person or
by certified mail to the last know post office address of that person.

13. Entire Agreement: Modifications

This agreement constitutes the entire agreement between Wagner, Cruises and Knott
and shail not be altered or amended except by written agreement between the parties. This
Agreement supersedes all prior consulting agreements, if any, whether oral or written. between

the parties.

atl —

“ DAREN WAGNER !

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A. PAUL KNOTT, JR.

DBA waynle Coubel OTP
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 39 of 55 PagelD #:39

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 40 of 55 PagelD #:40

© CO PLAINTIFF'S
EXHIBIT
Sf}

NON- COMPETE AGREEMENT

  

This Non-Compete Agreement (“Agreement”) is entered into on this g cay of July,
2001, between 4. Paul Knott, Jr.(*Know:), Wagner Cruises Lid. (“Cruises”) }. and Daren:
‘Wagner (“Wagner”).

WHEREAS, Wagner currently is employed by Wagner Charter Co., Inc. (* WCCI");
WHEREAS, WCCI is in the process of selling its assets to the Cruises.

WHEREAS, Wagner has unique skiils, knowledge and expertise separate from the
assets being purchased by Cruises;

WHEREAS, Cruises and Knott desire that Wagner not share these skills. her customer
knowledge or expertise in a way that would significantly diminish the value of the assets being
purchased by the Cruises;

Now THEREFORE. in consideration of the mutual agreements contained herein. the
parties agree as follows:

L. Term:

The term of Wagner’s Agreement will begin July 10, 2001 and end on December 31,
2004.

2. Prohibied Activities:

From the effective date of this Agreement through December 31, 2004:

a, Wagner is nol permitted to own or operate in an upper management
posilion any vessels competitive with any charter vessel owned by Wagner Cruises
Lid.;

b, Wagner may not act as a consultant in any marketing or management
position with a competitive cruise charter company; and |

c. Wagner is not permitted to share, sell, use. solicit from or in any way
disseminate the 2000 through 2001 customer lists of WCCI.

3. Permitted Outside Activities:

f

a. Wagner may act as a sales agent for her own charter brokerage
company;

b. Wagner may hoid a sales position for an outside charter company: and

c. Wagner may accept a strictly non upper-management, non-consulting

position with a competitor of Cruises.

4, Compensation:
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 41 of 55 PagelD #:41

From: O4Vio F. CoHnEN Ta: DAREN WAGNER LOATH: AE LIM: ates oom : Able wd
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In exchange for the restrictions placed on Wagner’s fimre business activities and
consequential protection of the current and future assets of Cruises under this Agreement,
Cruises and Knot agree to pay Wagner $350,000.00. Wagner has agreed to -finance this,
amount over ten years. Monthly payments of $11,000.00, principal and interest will be paid on
the first of each month August through November for the year 2001. Monthly payments of
$11,000.00, principal and interest will be paid on the first of each month June through October
for the years 2002 through 2010. A final payment of $9,960.00 will be made June 1, 2011.

Wagner will be responsible for all taxes.

Wagner will not be entitled to any other compensation such as vacation pay, sick pay,
medical benefits. etc.

5. Security:

As Security for the payment of any sums due and owing pursuant to paragraph 4 of this
Agreement, Cruises and A. Paul Knott grant Wagner a security interest on all assets of Wagner
Cruises Lid, subject only to liens allowed in the sales contract between Wagner Cruises Lid.,
A. Paul Knott. Jr. and Wagner Charter Co., Inc. Crutses and Knott will execute all documents
necessary to perfect the security agreement in Cruises assets.

6. Default: -

if Cruises and/or Knott default on the payment of any sums due and owing pursuant to
Paragraph 4 of this Agreement. and such default remains uncured after five business days,
Wagner may accelerate all payments due and owing under this Agreement. Cruises and Knott
agree to submit to the jurisdiction of the Circuit Court of Cook County. Illinois and waive any
and all right to a trial by jury. Cruises and Knou waive any and all defenses to any lawsuit
filed as a result of the breach of this Agreement by Cruises and Knott. Cruises and Knott agree
to pay all reasonable costs and expenses of collection including reasonable attorney's fees.

7. Severability :

If any particular portion of this Agreement is adjudicated to be unenforceable, that
portion shall be deemed deleted without affecting the validiry or enforcement of any other
portion or provision hereof. .

&. Notices:

All notices including notice of termination by either party may be delivered mn person or
by certified mail to the last known post office address of that person.
 

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9, Entire Agreement: Modifications:
This Agreement constitutes the entire agreement between Wagner, Knott,and Cruises
and shall not be altered or amended except by written agreement between the parties. This

Agreement supersedes all prior non-compete agreements, if any, whether oral or written,
between the parties.

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A. PAUL KNOTT, JR.

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WAGN (OPE LTD.

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Its President

 
Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 43 of 55 PagelD #:43

    

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Case: 1:02-cv-05138 Document #: 1 Filed: 07/19/02 Page 45 of 55 PagelD #:45

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PLAINTIFF’S
EXHIBIT

    
 

NAME OF DEBTOR: WAGNER CRUISES, LTD. (the “Debtor")

DEBTOR'S ADDRESS: 800 South. Wells Street, Suite 532, Chicago, Illinois 60607-2073

GRANT OF SECURITY INTEREST: The Debtor grants to Wagner Charter Co., Inc., the secured party,
referred to as "Lender", whose address is 2NO76 Linda Avenue, Wheaton, Illinois 60188 a continuing security
interest in the Collateral listed below, to secure the payment and performance of all of Debtor's debt (the "Debt”)
to the Lender.

Debt shall include that certain Purchase Agreement dated July 5, 2001, each and every debt, liability and
obligation of every type and description now owed or arising at a later time, whether direct or indirect, joint,
several, or joint and several and whether or not of the same type or class as presently outstanding, which shall
collectively be referred to as "Liabilities". Liabilities shall also include all interest, costs, expenses and reasonable
attorneys’ fees accruing to or incurred by the Lender in collecting the Liabilities or in the protection, maintenance
or liquidation of the Coilateral.

DESCRIPTION OF COLLATERAL: The Collateral covered by this agreement is all property of Debtor of any
kind or description, tangible or intangible, whether now existing or hereafter acquired and wherever now or
hereafter located, including, but not limited to, (i) cash, negotiable instruments, documents of title, chattel paper,
securities, certificates of deposit, deposit accounts, interest or dividends thereon, other cash equivalents and all
other property of whatever description of Debtor; and (ii} the following additional property of Debtor:

 

(a) All accounts, contract rights, instruments, documents, chattel paper, general intangibles
(including, but not limited to choses in action, tax refunds, and insurance proceeds); and other
obligations or indebtedness owed to Debtor from whatever source arising; all rights of Debtor to
receive any payments in money or kind: all guaranties of the foregoing and security therefor; all
of the right, title, and interest of Debtor in and relating thereto, and all rights of Debtor as an
unpaid seller of goods and services, including, but not limited to, the rights of stoppage m -
transit, replevin, reclamation, and resale; and all of the foregoing, whether now owned or
existing or hereafter created or acquired (collectively referred to as "Receivables”);

(b) All goods, merchandise, and other personal property now owned or hereafter acquired by Debtor
that are held for sale or lease, or are furnished or té be furnished under any contract of service
or are raw materials, work-in-process, supplies, or material used or consumed in Debtor's
business, and all products thereof, and all substitutions, replacements, additions, or accessions
therefor and thereto; (collectively referred to as “Inventory”);

(c) All machinery and equipment and furniture and fixtures, now owned or hereafter acquired by
Debtor, and used or acquired for use in the business of Debtor together with all accessions
thereto and all substitutions and replacements thereof and parts therefor:

(d) All vessels owned or hereafter acquired by Debtor, including all masts, boilers, cables, engines,
machinery, bowsprits, sails, rigging, boats, anchors, chains, tackle, apparel, furniture, fittings,
tools, pumps, equipment, radar, sonar, navigational devices and supplies, and all fishing and
other appurtenances and accessories and additions, improvements and replacements whether on
board or removed; and

(e) All cash or non-cash proceeds and products of any of the foregoing, including insurance
proceeds; and

(f) All ledger sheets, files, records, documents, and instruments (including, but not linited to,
computer programs, tapes, and related electronic data processing software) evidencing an interest
in or relating to the above.

All of the aforesaid personal property and the products and proceeds thereof are herein individually and
collectively calied the “Collateral”.
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WARRANTY & COVENANTS: The Debtor warrants and covenants to the Lender that:

1. It will pay the Liabilities to the Lender secured by this agreement,

2. It is the owner of the Collateral free from any liens, encumbrances or security interests, except for this
security interest, the lien of South Bank and existing liens disclosed to and accepted by Lender in writing and will
defend the Collateral against all claims and demands of all persons at any time claiming any interest in it,

 

3, It will keep the Coilateral free of liens, encumbrances and other security interests, except for this security
interest, maintain it in good repair, not use it illegally and exhibit it to Lender on demand;

4. It will not sell or offer to sell or otherwise transfer the Collateral, or change the location of the Collateral,
without the written consent of the Lender, except in the ordinary course of business;

5, It will pay promptly when due all taxes and assessments upon the Collateral or for its use or operation;

6. No financing statement covering all or any part of the Collateral or any proceeds is on file in any public

office, unless the Lender has approved that filing. At Lender's request, the Debtor will execute one or more
financing statements in form satisfactory to the Lender and will pay the cost of filing them in-all public offices
whose filing is deemed by Lender to be necessary or desirable; \

7. It will immediately notify the Lender in writing of any name change or any change in business
organization;
8. It will provide any information that the Lender may reasonably request and will permit the Lender, upon

_ pnlor or notice, to inspect and copy its books and records during normal business hours.

REPRESENTATIONS BY DEBTOR: Debtor represents that the execution and delivery of this agreement and
the performance of the obligations it imposes does not violate any law, does not conflict with any agreement by
which he are bound, does not require the consent or approval of any government authority or any third party, and
that this agreement is a valid and binding agreement, enforceable according to its terms.

 

EVENTS OF DEFAULT: The Debtor shall be in default upon the occurrence of any of the following: (1) The
Debtor fails to pay when due any amount payable under any agreement or instrument evidencing debt to any
creditor; (2) The Debtor (a) fails to observe or perform any term of this agreement; or (b) makes any materially
incorrect or misleading representation, warranty, or certificate to the Lender; or (c) makes any materially
incorrect or misleading representation in any financial statement or other information delivered to the Lender;, or
(d) defaults under the terms of any agreement or instrument relating to any debt for borrowed money such that the
creditor declares the debt due before its maturity; (3) The Debtor defaults under the terms of any loan agreement,
mortgage, security agreement, or any other document executed as part'of the Liabilities, or any guaranty of the
Liabilities becomes unenforceable in whole or in part, or any guarantor of the Liabilities fails to promptly perform
under its guaranty; (4) A "reportable event" (as defined in the Employee Retirement Income Security Act of 1974,
as amended) occurs that would permit the Pension Benefit Guaranty Corporation to terminate any employee benefit
plan of the Debtor or any affiliate of the Debtor; (5) The Debtor becomes insolvent or unable to pay its debts as
they become due: (6) The Debtor (a) makes an assignment for the benefit of creditors; (b) consents to the
appointment of a custodian, receiver, or trustee for itself or for a substantial part of its assets; or (c) commences
any proceeding under any Bankruptcy, reorganization. liquidation, insolvency or similar laws of any jurisdiction,
(7) A custodian, receiver or trustee is appointed for the Debtor or for a substantial part of its assets without the
consent of the Debtor and is not removed within 60 days after the appointment; (8) Proceedings are commenced
against the Debtor under any Bankruptcy, reorganization, liquidation, or similar laws of any jurisdiction and those
proceedings remain undismissed for 60 days after commencement; or the Debtor consents to the commencement of
such proceedings; (9) Any judgment is entered against the Debtor or any attachment, levy, or garnishment is
issued against any property of the Debtor or the Debtor; (10) The Debtor, without the Lender's written consent (a)
is dissolved, (b) merges or consolidates with any third: party, (c) sells a material part of its assets or business
outside the ordinary course of it business, or (d) agrees to do any of the foregoing; (11) There is a substantial
change in the existing or prospective financial conditions of the Debtor or the Debtor which the Lender in good
faith determines to be materially adverse; (12) The Lender in good faith deems itself insecure.

Upon default, the Lender shall have the rights and remedies provided by law or this agreement, including but not
limited to the right to require the Debtor to assemble the Collateral and make it available to the Lender at a place
to he designated by the Lender which is reasonably convenient to both parties, the right to take possession of the
Collateral with or without demand and with or without process of law, and the right to sell and dispose of it and
distribute the proceeds according to law. In connection with the right of the Lender to take possession of the
Collateral, the Lender may take possession of any other items of property in or on the Collateral at the time of
taking possession, and hold them for the Debtor without liability on the part of the Lender, If there is any statutory
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requirement for notice, that requirement shall he met if the Lender sends notice to the Debtor at least seven (7)
days prior to the date of sale, disposition or other event giving rise to the required notice. The Debtor shall be
liable for any deficiency remaining after disposition of the Collateral.

MISCELLANEOUS: (1) No delay on the part of Lender in the exercise of any right or remedy shall operate as a
waiver, no single or partial exercise by Lender of any right or remedy shall preclude any other exercise of it or the
exercise of any other right or remedy, and no waiver or indulgence by the Lender of any default shall be effective
unless in writing and signed by Lender, not shall a waiver on one occasion be construed as a waiver of that right
on any future occasion. (2) If any provision of this agreement is invalid, it shail be ineffective only to the extent of
its invalidity, and the remaining provisions shall be valid and effective. (3) Notice from one party to another
relating to this agreement shall be deemed effective if made in writing Gicluding telecommunications) and
delivered to the recipient's address set forth above, telex number or facsimile number appearing on the records of
the Lender by any of the following means: (a) hand delivery, (b) registered or certified mail, postage prepaid, with
retum receipt requested, (c) first class or express mail, postage prepaid, (d) Federal Express or like overnight
courier service or (e) facsimile, telex or other wire wansmission with request for assurance of receipt in a manner
typical with respect to communications of that type. Notice made in accordance with this section shall be deemed
delivered on receipt if delivered by hand or wire transmission, on the third business day after mailing if mailed by
registered. or certified mail, or on the next business day after mailing or deposit with an overnight courier service
if delivered by express mail or Overnight courier. (4) All rights of Lender shall inure to the benefit of the Lender’s
successors and assigns; and all obligations of the Debtor shall bind the Debtor’ heirs, executors, admmistrators,
successors and assigns. If there is more than one Debtor, his obligations are joint and several. (5) A carbon,
photographic or other reproduction of this agreement is sufficient, and can be filled as a financing statement. The
Lender is itrevocably appointed the Debtor' attorney in fact to execute any financing statement on Debtor’ behalf
covering the Collateral and Debtor specifically authorizes Lender to file a financing statement under revised
Article 9 of the Uniform Commercial Code. (6) Illinois law shall govern the terms and provisions of this security
agreement.

WAIVER OF JURY TRIAL: The Lender and the Debtor, after consulting or having had the opportunity to
consult with counsel, knowingly voluntarily and intentionally waive any right either of them may have to a trial by
jury in any litigation based upon or arising out of this agreement or any related instrument or agreement, or any of
the transactions contemplated by this agreement or any course of conduct, dealing, statements (whether oral or
written), or actions of either of them. Neither the Lender nor the Debtor shall seek to consolidate, by counterclaim
or otherwise, any action in which a jury trial has been waived with any other action in which a jury trial cannot be
or hag not been waived. These provisions shall not be deemed to have been modified in any respect or relinquished
by either the Lender or the Debtor except by a written instrument executed by both of them.

 

Dated: August 28, 2001

WAGNER-CRUISES, LTD.

ahha Lo

Its President *
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SECURITY AGREEMENT C

NAME OF DEBTOR: WAGNER CRUISES, LTD. (the “Debtor")

     
 

PLAINTIFF’S
EXHIBIT

DEBTOR'S ADDRESS; 800 South Weils Street, Suite 532, Chicago, Hlinois 60607-2073

GRANT OF SECURITY INTEREST: The Debtor grants to Daren L. Wagner, the secured party, referred to as
“Lender”, whose address is 2NO76 Linda Avenue, Wheaton, Illinois 60188, a continuing security interest in the
Collateral listed below, to secure the payment and performance of all of Debtor's debt (the "Debt") to the Lender.

Debt shall include that certain Consulting agreement and Non-Compete Agreement dated July 5, 2001, each and
every debt, liability and obligation of every type and description now owed or arising at a later time, whether
direct or indirect, joint, several, or joint and several and whether or not of the same type or class as presently
outstanding, which shall collectively be referred to as “Liabilities". Liabilities shall also include all interest, costs,
expenses and reasonable attorneys’ fees accruing to or incurred by the Lender in collecting the Liabilities or in the
protection, maintenance or liquidation of the Collateral. .

DESCRIPTION OF COLLATERAL: The Collateral covered by this agreement is all property of Debtor of any
kind or description, tangible or intangible, whether now existing or hereafter acquired and wherever now or
hereafter located, including, but not limited to, (i) cash, negotiable instruments, documents of title, chattel paper,
securities, certificates of deposit, deposit accounts, interest or dividends thereon, other cash equivalents and all
other property of whatever description of Debtor; and (ii} the following additional property of Debtor:

(a) All accounts, contract tights, instruments, documents, chattel paper, general intangibles
(including, but not limited to choses in action, tax refunds, and insurance proceeds); and other
obligations or indebtedness owed to Debtor from whatever source arising, all rights of Debtor to
receive any payments in money or kind; all guaranties of the foregoing and security therefor; all
of the right, title, and interest of Debtor in and relating thereto, and all tights of Debtor as an
unpaid seller of goods and services, including, but not limited to, the nights of stoppage in
transit, replevin, reclamation, and resale; and all of the foregoing, whether now owned or
existing or hereafter created or acquired (collectively referred to as "Receivables",

(b) All goods, merchandise, and other personal property now owned or hereafter acquired by Debtor
that are held for sale or lease, or are furnished or to be furnished under any contract of service
or are raw materials, work-in-process, supplies, or material used or consumed in Debtor's
business, and all products thereof, and all substitutions, replacements, additions, or accessions
therefor and thereto; (collectively referred to as “Inventory”};

(ce) All machinery and equipment and furniture and fixtures, now owned or hereafter acquired by
Debtor, and used or acquired for use in the business of Debtor together with all accessions
thereto and all substitutions and replacements thereof and parts therefor;

(d) All vessels owned or hereafter acquired by Debtor, including all masts, boilers, cables, engines,
machinery, bowsprits, sails, rigging, boats, anchors, chams, tackle, apparel, furniture, fittings,
tools, pumps, equipment, radar, sonar, navigational devices and supplies, and all fishing and
other appurtenances and accessories and additions, improvements and replacements whether on
board or removed; and

(2) All cash or non-cash proceeds and products of any of the foregoing, including insurance
proceeds; and
(fy All ledger sheets, files, records, documents, and instruments (including, but not limited to,

computer programs, tapes, and related electronic data processing software) evidencing an interest
in or relating to the above.

All of the aforesaid personal property and the products and proceeds thereof are herein individually and
collectively called the “Collateral”.

WARRANTY & COVENANTS: The Debtor warrants and covenants to the Lender that:
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i. It will pay the Liabilities to the Lender secured by this agreement;
Z. It is the owner of the Collateral free from any liens, encumbrances or security interests, except for this
security interest, the lien of South Bank, the lien of Wagner Charter Co., Inc. and existing liens disclosed to and

accepted by Lender in writing and will defend the Collateral against all claims and demands of all persons at any
time claiming any interest in it;

3. It will keep the Collateral free of liens, encumbrances and other security interests, except for this security
interest, maintain it in good repair, not use it illegally and exhibit it to Lender on demand;

4, It will not sell or offer to sell or otherwise transfer the Collateral, or change the location of the Collateral,
without the written consent of the Lender, except in the ordinary course of business;

5, It will pay promptly when due all taxes and assessments upon the Collateral or for its use or operation;

6, No financing statement covering all or any part of the Collateral or any proceeds is on file in any public

office, unless the Lender has approved that filing, At Lender's request, the Debtor will execute one or more
financing statements in form satisfactory to the Lender and will pay the cost of filing them in all public offices
whose filing is deemed by Lender to be necessary or desirable;

7. It will immediately aotify the Lender in writing of any name change or any change in business
organization;
8. It will provide any information that the Lender may reasonably request and will permit the Lender, upon

prior or notice, to inspect and copy its books and records during normal business hours.

REPRESENTATIONS BY DEBTOR: Debior represents that the execution and delivery of this agreement and
the performance of the obligations it imposes does not violate any law, does not conflict with any agreement by
which he are bound, does not require the consent or approval of any government authority or any third party, and
that this agreement is a valid and binding agreement, enforceable according to its terms.

EVENTS OF DEFAULT: The Debtor shall be in default upon the occurrence of any of the following: (1) The
Debtor fails to pay when due any amount payable under any agreement or instrument evidencing debt to any
creditor; (2) The Debtor (a) fails to observe or perform any term of this agreement; or (b) makes any materially
incorrect or misleading representation, warranty, or certificate to the Lender; or (c) makes any materially
incorrect or misfeading representation in any financial staternent or other information delivered to the Lender; or
(d) defaults under the terms of any agreement or instrument relating to any debt for borrowed money such that the
creditor declares the debt due before its maturity; (3) The Debtor defaults under the terms of any loan agreement,
Mortgage, security agreement, or any other document executed as part of the Liabilities, or any guaranty of the
Liabilities becomes unenforceable in whole or in part, or any guarantor of the Liabilities fails to promptly perform
under its guaranty; (4) A "reportable event" (as defined in the Employee Retirement Income Security Act of 1974,
as amended) occurs that would permit the Pension Benefit Guaranty Corporation to terminate any employee benefit
plan of the Debtor or any affiliate of the Debtor; (5) The Debtor becomes insolvent or unable to pay its debts as
they become due; (6) The Debtor (a) makes an assignment for the benefit of creditors; (b) consents to the
appointment of a custodian, receiver, or trustee for itself or for a substantial part of its assets; or (¢) Commences
any proceeding under any Bankruptcy, reorganization. liquidation, insolvency or similar laws of any jurisdiction,
(7) A custodian, receiver or trustee is appointed for the Debtor or for a substantial part of its assets without the
consent of the Debtor and is not removed within 60 days after the appointment; (8) Proceedings are commenced
against the Debtor under any Bankruptcy, reorganization, liquidation, or similar laws of any jurisdiction and those
proceedings remain undismissed for 60 days afier commencement; or the Debtor consents to the commencement of
such proceedings; (9) Any judgment is entered against the Debtor or any attachment, levy, or garnishment is
issued agaitist any property of the Debtor or the Debtor; (10) The Debtor, without the Lender’s written consent (a)
is dissolved, (b) merges or consolidates with any third party, (c) sells a material part of its assets or business
outside the ordinary course of it business, or (d) agrees to do any of the foregoing; (11) There is a substantial
change in the existing or prospective financial conditions of the Debtor or the Debtor which the Lender in good
faith determines to be materially adverse: (12) The Lender in good faith deems itself insecure.

Upon default, the Lender shall have the rights and remedies provided by law or this agreement, including but not
limited to the right to require the Debtor to assemble the Collateral and make it available to the Lender at a place
to he designated by the Lender which is reasonably convenient to both parties, the right to take possession of the
Collateral with or without demand and with or without process of law, and the right to sell and dispose of it and
distribute the proceeds according to law. In connection with the right of the Lender to take possession of the
Collateral, the Lender may take possession of any other items of property in or on the Collateral at the time of
taking possession, and hold them for the Debtor without liability on the part of the Lender. If there is any statutory
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requirement for notice, that requirement shall he met if the Lender sends notice to the Debtor at least seven (7)
days prior to the date of sale, disposition or other event giving rise to the required notice. The Debtor shall be
liable for any deficiency remaining after disposition of the Collateral.

MISCELLANEOUS: (1) No delay on the part of Lender in the exercise of any right or remedy shall operate as a
waiver, no single or partial exercise by Lender of any right or remedy shall preclude any other exercise of it or
the exercise of any other right or remedy, and no waiver or indulgence by the Lender of any default shall be
effective unless in writing and signed by Lender, not shall a waiver on one occasion be construed as 4 waiver of
that right on any future occasion, (2) If any provision of this agreement is invalid, it shall be ineffective only to the
extent of its invalidity, and the remaining provisions shall be valid and effective. (3) Notice from one party to
another relating to this agreement shall be deemed effective if made in writing (including telecommunications) and
delivered to the recipient's address set forth above, telex number or facsimile number appearing on the records of
the Lender by any of the following means: (a) hand delivery, (b) registered or certified mail, postage prepaid, with
return receipt requested, (c) first class or express mail, postage prepaid, (d) Federal Express or like overnight
couner service or (e) facsimile, telex or other wire transmission with request for assurance of receipt in a manner
typical with respect to communications of that rype. Notice made in accordance with this section shall be deemed
delivered on receipt if delivered by hand or wire transmission, on the third business day after mailing if mailed by
registered. or certified mail, or on the next business day after mailing or deposit with an overnight courier service
if delivered by express mail or Overnight courier. (4) Ail rights of Lender shall inure to the benefit of the Lender’s
successors and assigns; and all obligations of the Debtor shall bind the Debtor's heirs, executors, administrators,
successors and assigns. If there is more than one Debtor, his obligations are joint and several. (5) A carbon,
photographic or other reproduction of this agreement is sufficient, and can be filled as a financing statement. The
Lender is itrevocably appointed the Debtor's attorney in fact to execute any financing statement on Debtor's behalf
covering the Collateral and Debtor specifically authorizes Lender to file a financing statement under revised
Article 9 of the Uniform Commercial Code. (6) Illinois law shall govern the terms and provisions of this security

agreement.

WAIVER OF JURY TREAL: The Lender and the Debtor, after consulting or having had the opportunity to
consult with counsel, knowingly voluntarily and intentionally waive any right either of them may have to a trial by
jury in any litigation based upon or arising out of this agreement or any related instrament or agreement, or any of
the transactions contemplated by this agreement or any course of conduct, dealing, statements (whether oral or
written), Of actions of either of them. Neither the Lender nor the Debtor shall seek to consolidate, by counterclaim
or otherwise, any action in which a jury trial has been waived with any other action in which a jury trial cannot be
or has not been waived. These provisions shall not be deemed to have been modified in any respect or relinquished
by either the Lender or the Debtor except by a written instrument executed by both of them.

Dated: August 28, 2001

WAGNH

 

By: i

its President
 
  
 

PLAINTIFF'S
EXHIBIT

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FIRST PREFERRED SHIP MORTGAGE ~

THIS Second Preferred Ship Mortgage (the “Mortgage”), made this 28th day of August, 2001 by
WAGNER CRUISES, LTD., with an address at 800 South Wells Street, Suite 532, Chicago, Ulinois 60607-
2073 (“Mortgagors”), in favor of WAGNER CHARTER CO., INC,, with an address at 2NO76 Limda Avenue,
Wheaton, Illinois 60188 and DAREN L. WAGNER with an address of 2N076 Linda Avenue, Wheaton, Wlincis
60188 (collectively the “Mortgagee”). For purposes of filing and recording this Mortgage as required by Chapter
31321 of Title 46, United States Code, the total amount of the indebtedness secured by this Mortgage as of the date
hereof (as well-as’ the discharge amount) is $1,150,000.00 together with interest, expenses and fees, and
performance of mortgage covenants. \

WITNESSETH:

WHEREAS, the Mortgagors are the sole owner of the whole of the vessel more fully descibed below,
and the Mortgagors are justly indebted to Mortgagee and as security for the payment and performance of all other
indebtedness, obligations and liabilities of Mortgagors to Mortgagee, howsoever created, arising or evidenced, and
whether now existing or hereafter arising, (collectively referred to as the “Obligations”), Morigagors have agreed
to execute and deliver to Mortgagee this Mortgage. This Mortgage is given as equal security for all of the
Obligations without preference or priority of any part of the Obligations by reason of priority oft titne or of the
negotiation thereof or otherwise); and :

Office of the OCMI-USCG Received for record at
o'clock on [Date], and recorded in {Book No.],
" [Instrument No]

NATIONAL VESSEL DOCUMENTATION CENTER

UScG
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“ FIRST PREFERRED SHIP MORTGAGE

THIS Second Preferred Ship Mortgage (the “Mortgage”), made this 28th day of August, 2001 by
WAGNER CRUISES, LTD., with an address at 800 South Wells Street, Suite 332, Chicago, Hiinois 60607-
2073 (“Mortgagors”), in favor of WAGNER CHARTER CO., INC., with an address at 2N076 Linda Avenue,
Wheaton, Illinois 60188 and DAREN L. WAGNER with an address of 2N076 Linda Avenue, Wheaton, Tlhinois
60188 (collectively the “Mortgagee”). For purposes of filing and recording this Mortgage as required by Chapter
31321 of Title 46, United States Code, the total amount of the indebtedness secured by this Mortgage as of the date
hereof (as well-ag’ the discharge amount) is $1,150,000.00 together with interest, expenses and fees, and
performance of mortgage covenants.

WHEREAS, the Mortgagors are the sole owner of the whole of the vessel more fully desexibed below,
and the Mortgagors are justly indebted to Mortgagee and as security for the payment and performance ef all other
indebtedness, obligations and liabilities of Mortgagors to Mortgages, howsoever created, arising or evidenced, and
whether now existing or hereafter arising, (collectively referred to as the “Obligations”), Mortgagors have agreed
to execute and deliver to Mortgagee this Mortgage. This Mortgage is given as equal security for ali of the

Obligations without preference or priority of any part of the Obligations by reason of priority of time or of the
negotiation thereof or otherwise); and ,

Office of the OCMI-USCG ; Received for record at
o'clock on (Date), and recorded in . [Book No.],
[Insirument Na.]
[Signature]

 

NOW, THEREFORE, in consideration of the premises and for other good and valuable consideration,
receipt and sufficiency of which are hereby acknowledged, and to secure payment of said indebtedness and interest
and other sums that may become due and the performance of all covenants, Mortgagors mortgages and conveys
wifo Mortgagee, its successors and assigns, the whole of the vessel named below and further described in the last
Certificate of Documentation issued and identified as follows:

Name of Vessel | Home Port | Official Number | Gross Tons | Net Tons | Place Issued | | Date Issued
Jamaica | Chicago, IL | 1507102 | 88.56 | 60 Natl Vessel Doc | 1/6/2000

 

Ctr.

together with all masts, boilers, cables, engines, machinery, bowsprits, sails, Tigging, boats, anchors, chains,
tackle, apparel, furniture, fittings, tools, pumps, equipment, radar, sonar, navigational devices and supplies, and
all fishing and other appurtenances and accessories and additions, improvements and replacements whether on
board or removed, all of which shall be included in the term “vessel”, and said Documents being included by

reference;

TO HAVE AND TO HOLD all and singular the described vessel unto Mortgagee, its successors and
assigns, forever;

PROVIDED, HOWEVER, if Mortgagors, their successors or assigns shall perform and observe all and
singular the terms, covenants and agreements hereof, then this Mortgage shall cease, otherwise to remain in full
force and effect.

ARTICLE I - COVENANTS OF MORTGAGORS

Mortgagors covenant and apree:

1. Mortgagors are and shall continue to be a citizen of the United States entitled io own and operate
the vesse] under its respective marine documents, which Morigagors shall maintain in full force and effect; and all
action necessary for the execution, delivery and validity of this Mortgage filed and of any note evidencing the
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- indebtedness has been duly taken. This Mortgage is given in good faith and with no intent to hinder or defraud
any existing or future creditor of the Mortgagors or Len or of the vessel.

2. Mortgagors lawfully owns and possésses the vessel free from all liens and encumbrances
whatsoever except as may be specified below and shall warrant and defend title to a possession of all and every
part for the benefit of Mortgagee against all persons. Mortgagors shall not set up against Mortgagee and/or any
assignee of this Mortgage any claim of Mortgagors against Mortgagee and/or assignee any past or future
transaction. - ‘

3. ‘Mortgagors shall, at their own expense, keep the vessel fully and adequately msured under usual
full marine insurance with policy valuation not exceeding the amount insured and, in the aggregate as to the vessel
mortgaged, in at least the amount of the unpaid principal balance of this Mortgage, and shall maintain insurance to
cover’ protection and indemnity risks, tower's liability risks if the vessel performs towage, employees’
compensation and/or other risks and liabilities from time to time specified by Mortgagee. All insurance shall be
taken out in the name of Mortgagors and of Mortgageé (but in the case of Mortgagee, without liability for
premiums, calls or assessments) and shall by. its terms be payable to Mortgagee for account of Mortgagee and
Mortgagors as their respective interests may appear, and all policy forms, underwriters and amounts shall be
subject to Mortgagee's approval. Mortgagors shall notify, and shall request underwriters to agree reasonably in
advance to notify, Mortgagee of any cancellation of, or material change in, any insurance coverage. All policies,
binders and cover notices shall be delivered to Morigagee with evidence satisfactory to it that all premiums and
other charges have been paid. Mortgagors shall maintain ali such insurance unimpaired by any act, breach of
warranty or otherwise. If Mortgagors fail to maintain such insurance or to make necessary repairs, Mortgagee
may atrange for same at Mortgagors' expense, but without responsibility on Mortgagee's part to do so and without
responsibility for the adequacy of insurance coverage or the collection of claims or the adequacy of repairs.

4, Mortgagors shali comply with, and shall not permit the vessel to be operated contrary to, any
provision of the insurance policies covering the vessel or contrary to any provision of the laws, treaties,
conventions, ‘rules, regulations or orders of the United States, any stated and/or any other jurisdiction where
operated. Mortgagors shall not without prior written consent of Mortgagee permit the vessel to venture outside the
territorial waters of the United States or Gulf of Mexico, nor in any event abandon the vessel in any foreign port.
Mortgagors shall do everything necessary to establish and maintain this Mortgage as a Second Preferred Mortgage
pursuant to Chapter 31322 of Title 46, United States Code.

3 Neither the Mortgagors, Agent, Master nor any Charterer has or shall have any right, power or
authority to create, incur or permit to be placed. or imposed on the vessel, in whole or in part, any lien other than
to the Mortgagee or for crew's wages or salvage. This provision and paragraphs 6 and 9 of this Article II shall be
included in any charter party with respect to the vessel. 7

. Mortgagors and any Charterer shall place and keep prominently in the pilot house (if any), chart
room or Master's cabin or elsewhere on the vessel any notice of this Mortgage, required by Mortgagee, and shall
keep a proper copy with the ship's papers and exhibit them to ail persons having business with the vessel, and to
Mortgagee on demand.

7. Mortgagors shall pay, when due, all taxes, assessments, governmental charges, fines and
penalties lawfully imposed and promptly discharge any and all liens upon the vessel. Mortgagors shall, at its own
expense, at all times maintain the vessel in thorough repair and working order and shall make all proper renewals
and replacements. Mortgagors shall, at its own expense, at all times maintain and preserve the vessel and all its
equipment, ourfit and appurtenances tight, staunch, strong, in good condition, working order and repair and in all
respects seaworthy, and if classified by the American Bureau of Shipping or other classification society, will keep
the vessel in such condition as to entitle it to such classification. Mortgagors shal] notify Mortgagce of any
casualty ot damage to the vessel in an amount in excess of $10,000.00,

g, If the vessel shall be libeled, attached, detained, seized or levied upon or taken inte custody
under process or under color of any authority, Mortgagors shall forthwith notify Mortgagee by telegram,
confirmed by letter, and immediately get it released, and in any event within 15 days after such libel, attachment,
detention, s¢izurc, levy or taking into custody, If any lien or encumbrance, other than as permitted by paragraph 5
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of this Article IL, is claimed against the vessel, which would constitute a prior lien to this Morlgage or would
adversely affect the value of Morigagee's security, Mortgagee may, in its discretion, pay and discharge such lien
or encumbrance.

9, Mortgagors and any Charter shall at all times afford Mortgagee complete opportunities to inspect
the vessel and cargoes and papers, and to examine Mortgagors' or Charterer's related accounts and records; and
shall certify from time to time, at such intervals as Mortgagee shall determine, that all wages and all other claims’
which might have given rise to a lien upon the vessel have been paid.

10. Mortgagors shall not, without the prior written consent of Mortgagee, sell or mortgage the vessel
nor charter them except to persons and for uses lawful for an American vessel and then only provided said
insurance be unaffected or adequately replaced; nor, if a corporation, merge, or consolidate with any other person,
firm or corporation, of dissalve. ‘

11. From time to time Mortgagors shall execute and deliver such other and further instruments and
assurances as in the opinion of Mortgagee's counsel may be required to subject the vessel more effectually to its
lien and to the payment of its indebtedness and for operation of the vessel as provided.

- ARTICLE II - DEFAULT

1. In the event the vessel shall be arrested or detained by any officer of any court or by any other
authority, Mortgagors authorizes Mortgagee, its officers, representatives and appointees, in the name of
Mortgagors or of Morigagee, to receive or take possession, and to defend any action and/or discharge any lien.

2. Fach and every power or remedy given to Mortgagee shall be cumulative, and in addition to all
powers or remedies now or ijater existing in admuralty, in equity, at law or by stanute, and may be exercised as
often as may be deemed expedient by Mortgagee. No delay or omission by Mortgagee shall impair any right,
power or remedy, and no waiver of any default shall waive any other default. In.any suit Mortgagee shall be
entitled to obtain appointment of a receiver of the vessel and their earnings, who shal] have full rights and powers
to use and operate the vessel, and to obtain a decree ordering and directing their sale and disposition.

3, The net proceeds of (i) any judicial or other sale, and any lease, charier, Management, operation
or other use of the vessel by Mortgagee: (ii) any claim for damages; (iii) any judgment; and (iv) amy insurance
received by Mortgagee (except to the extent paid to Mortgagors or applied in payment of repairs or otherwise for
Mortgagors’ benefit} shall be applied as follows:

FIRST; ‘To the payment of all attorneys’ fees, court costs, and any other expenses, losses, charges,
damages incurred or advances made by Mortgagee in the protection of its rights or caused by Mortgagors's
default, with interest on all such amounts at the rate of | 1/2% per month, and to provide adequate indemnity
against any Hens for which priority over this Mortgage is claimed: and

SECOND: To the payment of all interest, to date of payment, on the indebtedness secured hereby and
any of all other sums due, and as to any balance of such proceeds, to the payment neat of any or all matured
installments of principal and then of any or ali unmatured installments of principal in the inverse order of their
maturity.
Mortgagee shall be entitled to collect any deficiency from Mortgagors. Mortgagors shall be entitled to
any surplus, subject to setoff in favor of Mortgage for any other indebtedness of Mortgagors.

4, All advances and expenditures which Mortgagee in its discretion may make for repairs,
insurance, payment of liens or other claims, defense of suits, or for any other related purpose and all damages
sustained by Morigagee because of defaults, shall be repaid by Mortgagors on demand with interest of | 1/2% per
month; and unti! sq paid shall be a debt due from Mortgagors to Mortgagee secured by the lien hereof.
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Mortgagee shall not be obligated tg make any such advances or expenditures, but if made, the Mortgagors is not
relieved of any obligation.

_ ARTICLE HI - POSSESSION UNTIL DEFAULT

Until one or more of the Events of Default described, Mortgagors shall be permitted to retain actual
possession and use of the vessel.

ARTICLE IV - MISCELLANEOUS

l All covenants and agreements of Mortgagors shall bind Mortgagors, its successors and assigns.
Following any assignment by Mortgagee (any such assignment being hereby permitted), any reference to
“Mortgagee” shall be deemed to refer to the assignee. If more than one person is the Morigagors, “its” shall:
mean “their:” In case any term or provision of this Mortgage shall be held to be invalid or unenforceable, such
invalidity or unenforceability shall not affect any other term or provision, and this Mortgage shall be construed as
if such invalid or unenforceable term or provision was nonexistent. ,

2. Nothing in any promissory note evidencing the indebtedness secured or in any other agreement
between the parties shall be deemed a waiver by Mortgagee of any of the benefits of Chapter 313 of Title 46,
United States, unless such waiver is contained in a written agreement specifically stating it is the intention of the
Mortgagee to waive such benelits,

3. The Mortgagee shall be entitled to a delinquency charge of 1 1/2% per month on the amount of
any and all installments not paid when due, Mortgagors agrees to pay the indebtedness secured with interest as
provided, and to perform and observe the further terms, covenants and agreements hereof, and to hold the vessel
subject thereto.

IN WITNESS WHEREOF, on the day and year first above written, Mortgagors has caused this Mortgage
to be executed in its name by its properly authorized officer.

WAGNER-CRUISES, LTD.

  
   

 

*"Tts President

STATE OF ILLINOIS | )
; ) 8s.
COUNTY OF )

I, the undersigned, a Notary Public in and for said County in the state aforesaid, DO HEREBY CERTIFY

THAT A, Paul Knott, Jr., President of Wagner Cruises, Lid., is personally known to me to be the same person
whose name is subscribed to the foregoing instrument, appeared before me this day in person and acknowledged
that he signed and delivered said instrument as his own free and voluntary act of Wagner Cruises, Lid. for the uses
and purposes therein set forth.

gust
GIVEN under my hand and Notarial Seal this Sth, day of July, A.D., 2001.

0 OF

NOTARY PUBLIC

 

My Commission Expires: =| as| vy

“CEFICIAL SEAL”

; DAVID E. COHEN
4 B Notary Pubtic, Stata of inois
my Commission Expies 07/24/04 §

 
